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                        MILMAN LABUDA LAW GROUP PLLC
                                       3000 MARCUS AVENUE
                                             SUITE 3W8
                                      LAKE SUCCESS, NY 11042
                                              _________

                                      TELEPHONE (516) 328-8899
                                      FACSIMILE (516) 328-0082
                                                                                       June 7, 2021
 VIA ECF
 United States District Court
 Eastern District of New York
 Attn: Hon. Cheryl L. Pollak, U.S.M.J.
 225 Cadman Plaza East, Room 1230
 Brooklyn, NY 11201-1804

 Re:    Star Auto Sales of Bayside, Inc., et al. v. Voynow, Bayard, Whyte and Co., LLP, et al.
        Case No.: 1:18-cv-5775 (ERK) (CLP)
        Defendants’ File No.: 03127-1373
        MLLG File No.: 76-2018                                                       _______

 Dear Judge Pollak:

         This office represents the Plaintiffs in the above-referenced case against the Defendants
 Voynow, Bayard, Whyte and Company, LLP (“Voynow”), Hugh Whyte (“Whyte”), Randall a/k/a
 Randy Franzen (“Franzen”), and Robert Seibel (“Seibel”) (collectively & interchangeably referred
 to as the “Defendants”).

        Plaintiffs submit this reply letter in further support1 of their motion to quash the subpoena
 Defendants intend to issue to Rosenfield & Company, PLLC (“Rosenfield”). For the reasons
 discussed in Plaintiffs May 28, 2021 letter and as set forth below, the Rosenfield subpoena must
 be quashed – or, alternatively – this Court should require an in camera inspection of any documents
 produced in response to the Rosenfield subpoena to protect Plaintiffs’ privilege under the attorney
 work product doctrine and, to the extent found applicable, the law-enforcement privilege.

         In opposing Plaintiffs’ motion to quash, Defendants emphasize that Plaintiffs voluntarily
 produced items in discovery that Defendants assert have resulted in a waiver of the attorney work
 product privilege while altogether blatantly ignoring the existence of the parties’ Discovery
 Stipulation and Agreement (hereinafter the “Discovery Stipulation”). Under the Discovery
 Stipulation, the production of a privileged or work-product protected document – whether
 inadvertent or otherwise – is not a waiver of privilege or protection from discovery in this case or
 in any other federal or state proceeding. See Docket Entry 52-3, Exhibit C, at 13 ¶ V. Indeed, the
 Discovery Stipulation specifically provides for “clawback” protections for inadvertent
 production(s) of privileged or protected materials. See Id. at 14 ¶ VI.


 1
  Defendants filed a letter on May 21, 2021 seeking a conference to discuss this dispute. On May
 28, 2021, Plaintiffs moved to quash the Rosenfield subpoena. On June 2, 2021, Defendants
 submitted their opposition letter. As such, the instant letter serves as a reply in further support of
 Plaintiffs’ letter motion to quash. This Court’s Individual Rules therefore permit the instant reply.
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         The Discovery Stipulation also provides that it shall be interpreted to provide the maximum
 protection allowed by Federal Rule of Evidence (hereinafter “FRE”) 502(d), which in turn,
 provides that a federal court may order that the privilege or protection is not waived by disclosure
 connected with the litigation pending before the court – in which event the disclosure is also not a
 waiver in any other federal or state proceeding. See FRE 502(d).

         Crucially, the Discovery Stipulation does not require that any document be labeled “for
 settlement purposes only” or “attorney work product,” as argued by Defendants, in order to qualify
 for protection under it nor is same required to permit clawing back any document protected by any
 privilege or work product protection; indeed, the Discovery Stipulation even protects privileged
 or work-product protected documents that are produced as a matter of inadvertence or otherwise.
 Such a broadly written provision cannot permit any finding of waiver.2

         Accordingly, Defendants’ argument that the privilege has been waived because some
 documents related to Rosenfield were produced is entirely frivolous; finding as such would
 obliterate the Discovery Stipulation and otherwise render it meaningless. Critically, none of the
 cases cited by Defendants in support of waiver dealt with a discovery stipulation with FRE 502(d)
 protections such as is present here, nor do they mention FRE 502(d); they are thus inapposite.

         Defendants also launch a collateral attack on Plaintiffs’ argument concerning privilege on
 the ground that Plaintiffs directly engaged Rosenfield rather than by and through Plaintiffs’ prior
 counsel. This is incorrect. As already stated by Plaintiffs in their initial letter on this motion,
 Plaintiffs’ counsel – not the Plaintiffs – retained Rosenfield. Plaintiffs’ counsel retained
 Rosenfield as a consultant to assess Defendants’ liability for accounting malpractice and to
 determine the extent of their liability, which is precisely an engagement protected by the privilege.
 As such, it is plainly irrelevant whether Plaintiffs have referred to Rosenfield as their own
 accountant (as Rosenfield was Plaintiffs’ accountant, under a separate engagement merely to
 perform tax work) or its “forensic accountant” because Plaintiffs’ former counsel directed
 Rosenfield to assist in responding to Defendants’ pre-complaint document demands, all of which
 fell within Rosenfield’s engagement that is protected by the attorney work-product doctrine.
 Accordingly, Defendants engagement in semantics to argue an otherwise moot point in light of the
 Discovery Stipulation’s broad protections is meritless.

         Critically, prior to commencing this case, the parties entered into a tolling agreement while
 conducting settlement discussions during which Defendants sent requests for documents to
 Plaintiffs for purposes of settlement. Plaintiffs’ prior counsel utilized Rosenfield to assist in
 responding to these demands, which Plaintiffs did with the assistance of Rosenfield on July 19,
 2018 – virtually three (3) months prior to the filing of this case. See Docket Entry 53, Exhibit B.

 2
  The purpose of entering into the Discovery Stipulation was to permit the parties to evaluate the
 merits of their claims and assist in resolving this case. This is evidenced by the Plaintiffs’
 prolonged and documented efforts at resolution prior to filing the complaint. Instead, Defendants
 have dug in their heels and, separately, seek to stymie Plaintiffs from their ability to depose crucial
 witnesses who were former employees. See ECF Docket Entry 54.
                                                   2
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        Indeed, the cover letter accompanying the produced documents specifically stated that
 enclosed is a “summary statement of your requests with specific responses.” See Docket Entry
 52, Exhibit B. Defendants therefore misrepresent the nature of this production; it was sent for
 settlement purposes only and not sent solely for purposes of discovery. Indeed, Defendants’
 opposition letter to the instant motion incorrectly and frivolously omits that the June 2, 2017
 report was produced for settlement purposes only, as it was an attachment to a summary
 statement designated as such and enclosed with the July 19, 2018 cover letter). See Docket
 Entry 53 at 2; Ex. B. Further, as set forth in Plaintiffs’ moving letter, the aforementioned summary
 statement provided that the June 2, 2017 report was submitted for settlement purposes only. See
 Docket Entry 52-2 at Page ID #: 338 (“For Settlement Purposes Only Preliminary and Subject To
 Modification”). As such, Defendants are wrong on the law and the facts.

          In arguing against the privilege Plaintiffs are entitled to protect, Defendants assert that the
 documents they seek do not fall within the ambit of privileged or work-product protected
 documents. However, the billing documents, forensic accounting analysis (to the extent any
 exists), and communications between Rosenfield and law enforcement agencies are privileged.

        Defendants argue that the law enforcement privilege does not apply because there is no
 formal claim of privilege by the head of the department having control over the requested
 information, and that it is not a privilege that can be maintained by Rosenfield in the first place.
 Defendants’ argument is meritless. The fact is that law enforcement agencies have been apprised
 of some of Plaintiffs’ former employees’ illegal conduct and have the right to investigate same and
 press charges. As such, at a minimum, the law enforcement agencies who received information
 from Rosenfield must be given an opportunity to claim a law-enforcement privilege.3

         With respect to relevance, Defendants argue that Plaintiffs’ tax returns must be produced
 because they would capture retained earnings and losses which were overstated.4 Plaintiffs have
 already produced their tax returns for 2016 and 2017, the periods Defendants refer to in their
 opposition to the instant motion, pursuant to the Discovery Stipulation. Plaintiffs also reiterate
 that Plaintiffs will not be relying on Rosenfield as a witness nor on any reports prepared by
 Rosenfield.

        Finally, Defendants argue that Plaintiffs have not produced all relevant documents.
 However, this is mere conjecture with no basis to support that Plaintiffs have failed in their
 discovery obligations.


 3
  The official information privilege also applies as it is closely related to the law enforcement
 privilege, which was developed by courts to govern disputes over the production of law
 enforcement records from fishing expeditions. See Morrissey v City of NY, 171 F.R.D. 85
 (S.D.N.Y. 1997) (“Obviously, “this [official information] privilege is intended to be quite broad
 and general in its scope”).
 4
     Notably, the subpoena does not request tax returns.
                                                    3
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         Indeed, mere suspicion is not enough to warrant an Order compelling discovery. See
 Midwest Mfg. Co. v. Staynew Filter Corp., 12 F. Supp. 876, 880 (W.D.N.Y. 1935) (“To obtain
 such an order for discovery, defendant must show something more than suspicion or surmise.”);
 see also Tottenham v. Trans World Gaming Corporation, 00 Civ. 7697 (WK) (S.D.N.Y. June 21,
 2002) (“Discovery requests cannot be based on pure speculation or conjecture.”); Trilegiant Corp.
 v. Sitel Corp., 275 F.R.D. 428, 436 (S.D.N.Y. 2011) (“Mere speculation as to the existence of
 additional documents is insufficient to warrant an order to compel.”); Cass v. Chappius, 15 CV
 3261 (WFK) (RML), at *2 (E.D.N.Y. Mar. 21, 2017) (“Generalized statements regarding the
 possibility of the existence of discoverable material will not be sufficient to establish the requisite
 good cause.”). Based on this precedent, this Court should not permit Defendants’ suspicions and
 unsupported beliefs to serve as a basis to permit a subpoena, especially one which would serve to
 violate the attorney-work product doctrine and the Discovery Stipulation.

         For the foregoing reasons, the Rosenfield subpoena must be quashed. Alternatively, to the
 extent that this Court finds that it may be served upon Rosenfield, this Court should Order an in
 camera review in order to preserve privilege. See U.S. v. Shichman, CV 97-7432 (LDW) (WDW)
 (E.D.N.Y. Feb. 16, 2001).

 Dated: Lake Success, New York
        June 7, 2021
                                                MILMAN LABUDA LAW GROUP PLLC

                                                _______/s__________________________
                                                Jamie S. Felsen, Esq.
                                                Emanuel Kataev, Esq.
                                                3000 Marcus Avenue, Suite 3W8
                                                Lake Success, NY 11042-1073
                                                (516) 328-8899 (telephone)
                                                (516) 328-0082 (facsimile)
                                                jamiefelsen@mllaborlaw.com
                                                emanuel@mllaborlaw.com
 VIA ECF
 Marshall Dennehy Warner Coleman & Goggin
 Attn: John L. Slimm & Maureen P. Fitzgerald, Esqs.
 15000 Midatlantic Drive, Suite 200
 P.O. Box 5429
 Mount Laurel, NJ 08054-1570
 jlslimm@mdwcg.com
 mpfitzgerald@mdwcg.com




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